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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

JEFFERSON-PILOT INVESTMENTS, INC., a )
North Carolina corporation,                   )
                                              )
                Plaintiff,                    )
                                              )         Case No. 10-cv-07633
v.                                            )
                                              )         Judge Matthew F. Kennelly
CAPITAL FIRST REALTY, INC., an Illinois )
corporation; SUNSET VILLAGE LIMITED )
PARTNERSHIP, an Illinois limited partnership; )
TCF NATIONAL BANK, a national banking )
association;     L    H    BLOCK ELECTRIC )
COMPANY, INC., an Illinois corporation, )
DOHERTY,               GIANNINI,      REITZ )
CONSTRUCTION, INC., an Illinois corporation, )
and EAGLE HEATING & COOLING INC., an )
Illinois corporation                          )
                                              )
         Defendants.                          )

    ORDER APPROVING REPORT OF SALE AND DISTRIBUTION, APPROVING
          RECEIVER’S FINAL REPORT, DISCHARGING RECEIVER
                     AND ORDER OF POSSESSION

       THIS CAUSE coming to be heard on the Motion of the plaintiff, Glenview MHC LLC,
successor by assignment to Jefferson-Pilot Investments, Inc., to Approve Report of Sale and
Distribution, Approve Receiver’s Final Report, Discharge Receiver and for Order of Possession
in connection with the following property:

       Parcels 1 – 3 Legal Description (Fee Simple Interest):

                      PARCEL 1:

                      THAT PART OF THE SOUTH 1/2 OF SECTION 23, TOWNSHIP 42 NORTH,
                      RANGE 12, EAST OF THE THIRD PRINCIPAL MERIDIAN, DESCRIBED AS
                      FOLLOWS: BEGINNING AT A POINT IN THE SOUTH LINE OF THE NORTH
                      1/2 OF THE SOUTH 1/2 OF SECTION 23, 1320.00 FEET EAST OF THE WEST
                      LINE OF SAID SECTION 23; THENCE EAST, 8.91 FEET; THENCE NORTH
                      65.00 FEET MORE OR LESS, TO THE CENTERLINE OF RIVER; THENCE
                      NORTHWESTERLY ALONG THE CENTERLINE OF SAID RIVER TO A POINT
                      IN THE SOUTH LINE OF JOHN STOLL'S LAND, 2045.20 FEET WEST OF THE
                      CENTERLINE OF WAUKEGAN ROAD, AS MEASURED ALONG SAID SOUTH
                      LINE OF JOHN STOLL'S LAND; THENCE EAST ALONG SAID SOUTH LINE
                      OF JOHN STOLL'S LAND, 2045.20 FEET TO SAID CENTERLINE OF
                      WAUKEGAN ROAD; THENCE SOUTHERLY ALONG SAID CENTERLINE OF


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                  WAUKEGAN ROAD, 431.00 FEET; THENCE WEST IN A STRAIGHT LINE,
                  1837.63 FEET, MORE OR LESS, TO A POINT 82.84 FEET SOUTH OF THE
                  PLACE OF BEGINNING, AND 1320.00 FEET EAST OF SAID WEST LINE OF
                  SAID SECTION 23; THENCE NORTH 82.84 FEET TO THE PLACE OF
                  BEGINNING, EXCEPT THAT PART LYING EASTERLY OF THE WESTERLY
                  LINE OF WAUKEGAN ROAD SHOWN AS DOCUMENT 88178434,
                  EXCEPTING THAT PART THEREOF DESCRIBED AS FOLLOWS: THAT
                  PART OF LOTS 30 AND 31 IN COUNTY CLERK'S DIVISION OF SECTION 23,
                  TOWNSHIP 42 NORTH, RANGE 12, EAST OF THE THIRD PRINCIPAL
                  MERIDIAN, LYING EAST OF A LINE DRAWN PERPENDICULAR TO THE
                  SOUTH LINE OF SAID LOT 30 AND PASSING THROUGH A POINT ON
                  SAID SOUTH LINE, 255.46 FEET WEST OF THE INTERSECTION OF THE
                  CENTERLINE OF WAUKEGAN ROAD WITH SAID SOUTH LINE AND LYING
                  NORTH OF THE NORTH LINE OF THE SOUTH 408.91 FEET OF SAID LOT
                  30, EXCEPT THAT PART LYING EASTERLY OF THE WESTERLY LINE
                  OF WAUKEGAN ROAD, AS WIDENED, PER DOCUMENT 88178434
                  AND EXCEPTING FROM THE FIRST ABOVE DESCRIBED PREMISES, THAT
                  PART THEREOF, IF ANY, FALLING WITHIN THE SOUTH 293.16 FEET OF
                  LOT 30 IN COUNTY CLERK'S DIVISION OF SECTION 23 AFORESAID, IN
                  COOK COUNTY, ILLINOIS.

                  PARCEL 2 - SALES LOT:

                  THAT PART OF LOTS 30 AND 31 IN COUNTY CLERK'S DIVISION OF
                  SECTION 23, TOWNSHIP 42 NORTH, RANGE 12, EAST OF THE THIRD
                  PRINCIPAL MERIDIAN, LYING EAST OF A LINE DRAWN PERPENDICULAR
                  TO THE SOUTH LINE OF LOT 30 IN SAID COUNTY CLERK'S DIVISION AND
                  PASSING THROUGH A POINT ON SAID SOUTH LINE, 255.46 FEET WEST
                  OF THE INTERSECTION OF THE CENTERLINE OF WAUKEGAN ROAD WITH
                  SAID SOUTH LINE AND LYING NORTH OF A LINE 408.91 FEET NORTH OF
                  THE SAID SOUTH LINE OF LOT 30, EXCEPT THAT PART LYING EASTERLY
                  OF THE WESTERLY LINE OF WAUKEGAN ROAD AS, WIDENED, PER
                  DOCUMENT 88178434, IN COOK COUNTY, ILLINOIS.

                  PARCEL 3 - RONNIES RESTAURANT:

                  THAT PART OF LOT 30 IN COUNTY CLERK'S DIVISION OF SECTION 23,
                  TOWNSHIP 42 NORTH, RANGE 12, EAST OF THE THIRD PRINCIPAL
                  MERIDIAN,    DESCRIBED   AS  FOLLOWS:    BEGINNING     AT THE
                  INTERSECTION OF THE SOUTH LINE OF SAID LOT 30 WITH THE
                  CENTERLINE OF WAUKEGAN ROAD; THENCE WEST ALONG SAID SOUTH
                  LINE 300.00 FEET; THENCE NORTH PERPENDICULAR TO SAID SOUTH
                  LINE 92.00 FEET; THENCE EAST ALONG A LINE PARALLEL WITH SAID
                  SOUTH LINE TO THE CENTERLINE OF WAUKEGAN ROAD; THENCE
                  SOUTHEASTERLY ALONG SAID CENTERLINE TO THE POINT OF
                  BEGINNING, EXCEPT THAT PART LYING EASTERLY OF THE WESTERLY
                  LINE OF WAUKEGAN ROAD AS WIDENED PER DOCUMENT 88178434, IN
                  COOK COUNTY, ILLINOIS.

                  Parcels 1 – 3 Common address: 2450 Waukegan Road, Glenview, Illinois.

                  Parcels 1 – 3 PINS:   04-23-300-004; 04-23-302-004; 04-23-401-003

   Parcels 4 – 5 Legal Description (Leasehold Interest):



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                PARCEL 4:

                LEASEHOLD ESTATE AS CREATED BY THE INSTRUMENT HEREAFTER
                REFERRED TO AS THE LEASE, EXECUTED BY TONY MARINO AND
                GRACE MARINO, HIS WIFE, LESSORS, TO COOK COUNTY MOBILE
                HOMES, INC., A CORPORATION OF ILLINOIS, LESSEE, DATED
                SEPTEMBER 14, 1957, AND RECORDED OCTOBER 11, 1957, AS
                DOCUMENT 17036321, AND AMENDED BY INSTRUMENT RECORDED
                OCTOBER 9, 1958, AS DOCUMENT 17341867, AND DOCUMENT 96709584
                AND DOCUMENT 0010624076, WHICH DEMISES THE FOLLOWING
                DESCRIBED LAND FOR A TERM OF YEARS BEGINNING SEPTEMBER 1,
                1957, AND ENDING AUGUST 31, 2056: THE SOUTH 293.16 FEET OF LOT 30
                IN COUNTY CLERK'S DIVISION OF SECTION 23, TOWNSHIP 42 NORTH,
                RANGE 12, EAST OF THE THIRD PRINCIPAL MERIDIAN, (EXCEPT THAT
                PART DESCRIBED AS FOLLOWS: BEGINNING AT THE CENTERLINE OF
                WAUKEGAN ROAD AND THE SOUTH LINE OF SAID LOT 30; RUNNING
                THENCE WEST, 300.00 FEET; THENCE NORTH AT A RIGHT ANGLE TO
                SAID SOUTH LINE OF LOT 30 TO A POINT ON THE NORTH LINE OF THE
                SOUTH 293.16 FEET OF LOT 30; THENCE EAST ALONG SAID NORTH LINE
                TO A POINT IN THE CENTERLINE OF WAUKEGAN ROAD; THENCE
                SOUTHEASTERLY TO THE POINT OF BEGINNING) IN COOK COUNTY,
                ILLINOIS.

                PARCEL 5:

                LEASEHOLD ESTATE AS CREATED BY THE INSTRUMENT HEREAFTER
                REFERRED TO AS THE LEASE, EXECUTED BY TONY MARINO AND
                GRACE MARINO, HIS WIFE, LESSORS, TO COOK COUNTY MOBILE
                HOMES, INC., A CORPORATION OF ILLINOIS, LESSEE, DATED AUGUST
                29, 1958, BUT ACTUALLY ENTERED INTO ON SEPTEMBER 1, 1957, AND
                RECORDED OCTOBER 9, 1958, AS DOCUMENT 17341868, AND
                DOCUMENT 96709584 AND DOCUMENT 0010624076, DEMISING THE
                FOLLOWING DESCRIBED LAND FOR A TERM OF YEARS BEGINNING
                SEPTEMBER 1, 1957, AND ENDING AUGUST 31, 2056: PARCEL A: THE
                NORTH 42.16 FEET OF THE SOUTH 293.16 FEET OF LOT 30 IN COUNTY
                CLERK'S DIVISION OF SECTION 23, TOWNSHIP 42 NORTH, RANGE 12,
                EAST OF THE THIRD PRINCIPAL MERIDIAN, LYING EAST OF A LINE
                DRAWN PERPENDICULAR TO THE SOUTH LINE OF SAID LOT PASSING
                THROUGH A POINT ON SAID SOUTH LINE 300.00 FEET WEST OF THE
                INTERSECTION OF THE CENTERLINE OF WAUKEGAN ROAD WITH SAID
                SOUTH LINE AND LYING WEST OF A LINE DRAWN PERPENDICULAR TO
                SAID SOUTH LINE AND PASSING THROUGH A POINT ON SAID SOUTH
                LINE, 107.00 FEET WEST OF THE INTERSECTION OF SAID CENTERLINE
                WITH SAID SOUTH LINE, IN COOK COUNTY, ILLINOIS.

                PARCEL B:

                THAT PART OF LOT 30 IN COUNTY CLERK'S DIVISION OF SECTION 23,
                TOWNSHIP 42 NORTH, RANGE 12, EAST OF THE THIRD PRINCIPAL
                MERIDIAN, DESCRIBED AS FOLLOWS: COMMENCING AT A POINT ON THE
                CENTERLINE OF WAUKEGAN ROAD, 167.00 FEET NORTH OF THE SOUTH
                LINE OF SAID LOT 30, (AS MEASURED PERPENDICULARLY THERETO);
                THENCE WEST PARALLEL WITH SAID SOUTH LINE 128.15 FEET TO THE
                POINT OF BEGINNING; THENCE CONTINUING WEST ALONG SAID
                PARALLEL LINE, 116.85 FEET; THENCE SOUTH PERPENDICULAR




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                TO SAID SOUTH LINE, 75.00 FEET; THENCE WEST PARALLEL WITH SAID
                SOUTH LINE, 42.15 FEET TO A POINT ON A LINE DRAWN
                PERPENDICULAR TO SAID SOUTH LINE AND PASSING THROUGH A
                POINT ON SAID SOUTH LINE, 300.00 FEET WEST OF THE INTERSECTION
                OF SAID CENTERLINE WITH SAID SOUTH LINE; THENCE NORTH ALONG
                THE AFORESAID PERPENDICULAR LINE, 127.00 FEET TO A POINT ON
                THE NORTH LINE OF THE SOUTH 219.00 FEET OF SAID LOT; THENCE
                EAST ALONG SAID NORTH LINE, 159.00 FEET TO A POINT ON A LINE
                DRAWN PERPENDICULAR TO SAID SOUTH LINE AND PASSING THROUGH
                THE POINT OF BEGINNING; THENCE SOUTH ALONG SAID
                PERPENDICULAR LINE, 52.00 FEET TO THE POINT OF BEGINNING,
                IN COOK COUNTY, ILLINOIS.

                PARCEL C:

                THE NORTH 32.00 FEET OF THE SOUTH 251.00 FEET OF LOT 30 IN
                COUNTY CLERK'S DIVISION OF SECTION 23, TOWNSHIP 42 NORTH,
                RANGE 12, EAST OF THE THIRD PRINCIPAL MERIDIAN, LYING EAST OF A
                LINE DRAWN PERPENDICULAR TO THE SOUTH LINE OF SAID LOT
                AND PASSING THROUGH A POINT ON SAID SOUTH LINE, 300.00 FEET
                WEST OF THE INTERSECTION OF THE CENTERLINE OF WAUKEGAN
                ROAD WITH SAID SOUTH LINE AND LYING WEST OF A LINE DRAWN
                PERPENDICULAR TO SAID SOUTH LINE AND PASSING THROUGH A
                POINT ON SAID SOUTH LINE, 107.00 FEET WEST OF THE INTERSECTION
                OF SAID CENTERLINE WITH SAID SOUTH LINE, IN COOK COUNTY,
                ILLINOIS.

                STAGING AREA:

                THAT PART OF THE SOUTH 293.16 FEET OF LOT 30 IN COUNTY CLERK'S
                DIVISION OF SECTION 23, TOWNSHIP 42 NORTH, RANGE 12, EAST OF
                THE THIRD PRINCIPAL MERIDIAN, DESCRIBED AS FOLLOWS:
                BEGINNING AT A POINT ON THE CENTERLINE OF WAUKEGAN ROAD,
                167.00 FEET NORTH OF THE SOUTH LINE OF SAID LOT 30 (AS
                MEASURED PERPENDICULARLY THERETO); THENCE WEST
                PARALLEL WITH SAID SOUTH LINE, 245.00 FEET; THENCE SOUTH
                PERPENDICULAR TO SAID SOUTH LINE, 75.00 FEET; THENCE WEST
                PARALLEL WITH SAID SOUTH LINE, 42.15 FEET TO A POINT ON A LINE
                DRAWN PERPENDICULAR TO SAID SOUTH LINE AND PASSING THROUGH
                A POINT ON SAID SOUTH LINE, 300.00 FEET WEST OF THE NTERSECTION
                OF SAID CENTERLINE WITH SAID SOUTH LINE; THENCE NORTH ALONG
                THE AFORESAID PERPENDICULAR LINE, 201.16 FEET TO A POINT ON
                THE NORTH LINE OF THE SOUTH 293.16 FEET THEREOF; THENCE EAST
                ON SAID NORTH LINE, 277.44 FEET TO SAID CENTERLINE; THENCE
                SOUTHERLY ALONG SAID CENTERLINE 126.54 FEET TO THE POINT OF
                BEGINNING, EXCEPT THAT PART LYING EASTERLY OF THE WESTERLY
                LINE OF WAUKEGAN ROAD, AS WIDENED PER DOCUMENT 88178434,

                EXCEPTING THEREFROM THAT PART THEREOF DESCRIBED AS
                FOLLOWS: THE NORTH 42.16 FEET OF THE SOUTH 293.16 FEET OF LOT
                30 IN COUNTY CLERK'S DIVISION OF SECTION 23, TOWNSHIP 42 NORTH,
                RANGE 12, EAST OF THE THIRD PRINCIPAL MERIDIAN, LYING EAST OF A
                LINE DRAWN PERPENDICULAR TO THE SOUTH LINE OF SAID LOT
                AND PASSING THROUGH A POINT ON SAID SOUTH LINE 300.00 FEET
                WEST OF THE INTERSECTION OF THE CENTERLINE OF WAUKEGAN
                ROAD WITH SAID SOUTH LINE AND LYING WEST OF A LINE DRAWN


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                PERPENDICULAR TO SAID SOUTH LINE AND PASSING THROUGH A
                POINT ON SAID SOUTH LINE 107.00 FEET WEST OF THE INTERSECTION
                OF SAID CENTERLINE WITH SAID SOUTH LINE,

                ALSO EXCEPTING THEREFROM THAT PART THEREOF DESCRIBED AS
                THAT PART OF LOT 30 IN COUNTY CLERK'S DIVISION OF SECTION 23,
                TOWNSHIP 42 NORTH, RANGE 12, EAST OF THE THIRD PRINCIPAL
                MERIDIAN, DESCRIBED AS FOLLOWS: COMMENCING AT A POINT ON THE
                CENTERLINE OF WAUKEGAN ROAD, 167.00 FEET NORTH OF THE SOUTH
                LINE OF SAID LOT 30 (AS MEASURED PERPENDICULARLY THERETO);
                THENCE WEST PARALLEL WITH SAID SOUTH LINE, 128.15 FEET TO THE
                POINT OF BEGINNING; THENCE CONTINUING WEST ALONG SAID
                PARALLEL LINE, 116.85 FEET; THENCE SOUTH PERPENDICULAR TO
                SAID SOUTH LINE, 75.00 FEET; THENCE WEST PARALLEL WITH SAID
                SOUTH LINE, 42.15 FEET TO A POINT ON A LINE DRAWN
                PERPENDICULAR TO SAID SOUTH LINE AND PASSING THROUGH A
                POINT ON SAID SOUTH LINE, 300.00 FEET WEST OF THE INTERSECTION
                OF SAID CENTERLINE WITH SAID SOUTH LINE; THENCE NORTH ALONG
                THE AFORESAID PERPENDICULAR LINE, 127.00 FEET TO A POINT ON
                THE NORTH LINE OF THE SOUTH 219.00 FEET OF SAID LOT; THENCE
                EAST ALONG SAID NORTH LINE, 159.00 FEET TO A POINT ON A LINE
                DRAWN PERPENDICULAR TO SAID SOUTH LINE AND PASSING THROUGH
                THE POINT OF BEGINNING; THENCE SOUTH ALONG SAID
                PERPENDICULAR LINE, 52.00 FEET TO THE POINT OF BEGINNING,

                ALSO EXCEPTING THEREFROM THAT PART THEREOF, DESCRIBED AS
                FOLLOWS: THE NORTH 32.00 FEET OF THE SOUTH 251.00 FEET OF LOT
                30 IN COUNTY CLERK'S DIVISION OF SECTION 23, TOWNSHIP 42 NORTH,
                RANGE 12, EAST OF THE THIRD PRINCIPAL MERIDIAN, LYING EAST OF A
                LINE DRAWN PERPENDICULAR TO THE SOUTH LINE OF SAID LOT AND
                PASSING THROUGH A POINT ON SAID SOUTH LINE 300.00 FEET WEST OF
                THE INTERSECTION OF THE CENTERLINE OF WAUKEGAN ROAD WITH
                SAID SOUTH LINE AND LYING WEST OF A LINE DRAWN PERPENDICULAR
                TO SAID SOUTH LINE AND PASSING THROUGH A POINT ON SAID SOUTH
                LINE 107.00 FEET WEST OF THE INTERSECTION OF SAID CENTERLINE
                WITH SAID SOUTH LINE, IN COOK COUNTY, ILLINOIS.

                Parcels 4 – 5 Common address: 2450 Waukegan Road, Glenview, Illinois.

                Parcels 4 – 5 PINS:   04-23-300-004; 04-23-302-004; 04-23-401-003

   IT IS HEREBY FOUND:

   1.    All notices required by 735 ILCS 5/15-1507(c) were given;

   2.    The sale was fairly and properly made;

   3.    The selling officer has in every respect proceeded in accordance with the terms of
         this Court’s Judgment of Foreclosure;

   4.    The property is commercial in nature;

   5.    The property was last inspected by the plaintiff on May 29, 2013;


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   6.    The plaintiff has waived its request for an in personam deficiency judgment after
         the receiver disburses all remaining fund; and

   7.    That justice was done.

   IT IS FURTHER FOUND:

   8.    The Receiver’s 12th and Final Report has been submitted to the Court for
         approval;

   9.    The Receiver requests the approval of invoices for services rendered in March,
         April and May of 2013, in the amounts of $20,375.60, $22,283.92 and 25,360.26,
         respectively, totaling $68,019.78. These amounts are comprised of $37,339.34 in
         landscaping and property expenses, $29,555.45 in management fees and
         $1,124.99 in receiver fees;

   10.   The Receiver reports a net property cash balance as of May 31, 2013 in the
         amount of $266,043.30; and

   11.   There were no objections filed with respect to the Receiver’s Final Report.

   IT IS HEREBY ORDERED:

   12.   The Report of Sale and Distribution dated May 24, 2013 is approved, ratified and
         confirmed;

   13.   That the proceeds of the sale be distributed in accordance with the Report of Sale
         and Distribution;

   14.   The costs, expenses and other figures in the Report of Sale and Distribution
         incurred by the plaintiff since the entry of the Judgment of Foreclosure are
         approved;

   15.   735 ILCS 5/9-117 is not applicable to this Order pursuant to Article 15 of the
         Illinois Code of Civil Procedure;

   16.   That upon request by the plaintiff, the sale officer shall execute a deed conveying
         parcels 1 – 3 in fee simple to Glenview MHC LLC, an Illinois limited liability
         company, and an assignment of lease conveying the leasehold estates in parcels 4
         – 5 to Glenview MHC LLC, an Illinois limited liability company;

   17.   The following may be contacted with concerns about the property:

         Victor Michel
         Glenview MHC LLC



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         1144 W. Fulton St., #210
         Chicago, IL 60607

   18.   The Receiver’s 12th and Final Report is approved. The Receiver’s request for
         approval of invoices for services rendered in March, April and May of 2013, in
         the amounts of $20,375.60, $22,283.92 and 25,360.26, respectively, totaling
         $68,019.78, is granted. These amounts are comprised of $37,339.34 in
         landscaping and property expenses, $29,555.45 in management fees and
         $1,124.99 in receiver fees.

   19.   The Receiver shall disburse all remaining funds derived from the Property to
         Glenview MHC LLC within seven (7) days;

   20.   Glenview MHC LLC shall reimburse the Receiver for all costs and expenses
         incurred hereafter within seven (7) days of any such request from the Receiver
         accompanied by appropriate documentation establishing such costs and expenses;

   21.   The Court retains jurisdiction to resolve any issues concerning further
         reimbursement requests from the Receiver;

   22.   No further deficiency is awarded;

   23.   The Receiver is discharged and the Receiver’s Bond is released;

   24.   The Receiver shall immediately turn over possession of the Property to the
         plaintiff upon entry of this Order in accordance with 735 ILCS 5/15-1701(c);

   25.   The deed to be issued hereunder is a transaction which is exempt from all transfer
         taxes, either state or local, and the County Recorder of Deeds is ordered to permit
         immediate recordation of the Deed issued hereunder without affixing any transfer
         stamps;

   26.   The Cook County Sheriff or other appropriate authority is authorized and directed
         to evict Sunset Village Limited Partnership upon request of the plaintiff or its
         successors and assigns after thirty (30) days from the date of this Order; and

   27.   The plaintiff shall mail a copy of this Order to all parties of record within seven
         days of entry.


                                              ENTER:



   Date: June 13, 2013                        ___________________________________
                                              Judge            



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